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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

RICARDO VARELA, on behalf of Civil Action No.
himself and those similarly situated,
18-17196 (SDW) (LDW)

Plaintiff,

uA REPORT AND RECOMMENDATION

PEE DEE MEDICAL COLLECTION
SERVICES and MCLEOD HEALTH,

Defendants.

 

 

LEDA DUNN WETTRE, United States Magistrate Judge
Before the Court is defendants’ motion to dismiss for lack of personal jurisdiction. (ECF
No. 12). Plaintiff opposes the motion. (ECF No. 20), The Hon. Susan D, Wigenton, U.S.D.J.,,
referred this motion to the undersigned for a Report and Recommendation. The motion is decided
without oral argument pursuant to Rule 78 of the Federal Rules of Civil Procedure. Having
considered the parties’ written submissions, and for good cause shown, the Court recommends that
defendants’ motion to dismiss be DENIED.
I. BACKGROUND
Plaintiff Ricardo Varela resides in New Jersey. (Compl. 4, ECF No. 1). Defendant
McLeod Health provides healthcare services through a network of hospitals, primary care, and
family physicians’ groups in North and South Carolina. (Harrington Decl. 5, ECF No. 12-2).
Pee Dee Medical Collection Services (along with McLeod Health, “defendants”) is a fictitious
name used by McLeod Health and its affiliates when attempting to collect unpaid medical bills.
(Jd. J 19). McLeod Health is organized under the laws of South Carolina with a principal place of

business in South Carolina. (/d. {9 4, 6-17). Plaintiff does not dispute for purposes of this motion
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that defendants do not market or solicit business in New Jersey, do not provide services in New
Jersey, have no employees, property, or bank accounts in New Jersey, are not registered to do
business in New Jersey, and do not have a registered agent in New Jersey. (/d. {J 20-27).

In the summer of 2017, plaintiff was traveling back from Florida to his home in New
Jersey; he stopped in South Carolina and received medical services from McLeod Health. (Varela
Aff. 9 4-5, ECF No. 20-1). Defendants mailed a letter dated December 14, 2017 to plaintiff at
his home address in New Jersey requesting payment for a purportedly outstanding medical bill.
(Compl. {J 21-22, Ex. A; Varela Aff. 7 10). Thereafter, plaintiff received one phone call from
defendants and two additional collection letters dated January 3, 2018 and July 31, 2018 mailed to
his home address in New Jersey. (Varela Aff. f{] 11-12, Ex. B). Ina putative class action amended
complaint dated March 29, 2019, plaintiff alleges that defendants’ collection letters are false and
misleading in violation of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et
seq. Defendants now move to dismiss for lack of personal jurisdiction pursuant to Rule 12(b)(2)
of the Federal Rules of Civil Procedure.

II. DISCUSSION

Plaintiff bears the burden of establishing the court’s jurisdiction over a defendant. Metcalfe
v. Renaissance Marine, Inc., 566 F.3d 324, 330 (3d Cir. 2009). When the court does not hold an
evidentiary hearing, plaintiff must establish only a prima facie case of personal jurisdiction. Miller
Yacht Sales, Inc. v. Smith, 384 F.3d 93, 97 (3d Cir. 2004). Under a prima facie standard, “the
plaintiff's allegations are presumed true and all factual disputes are resolved in the plaintiff's
favor.” LaSala v. Marfin Popular Bank Pub. Co., Ltd., 410 F. App’x 474, 476 (3d Cir. 2011). As
a Rule 12(b)(2) motion “is inherently a matter which requires resolution of factual issues outside

the pleadings,” the court may consider sworn affidavits or other documents in its jurisdictional
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analysis. Time Share Vacation Club v. Atlantic Resorts, Ltd., 735 F.2d 61, 66 n.9 (3d Cir. 1984).
If plaintiff makes a prima facie showing of personal jurisdiction, “the burden shifts to the defendant
to establish the presence of other considerations that would render the exercise of personal
jurisdiction unreasonable.” Display Works, LLC v. Bartley, 182 F. Supp. 3d 166, 172 (D.N.J.
2016).

A federal court in New Jersey exercises jurisdiction to the extent permitted by New Jersey
law. See Miller Yacht Sales, 384 F.3d at 96. New Jersey’s long-arm statute provides for the
exercise of jurisdiction over non-residents ““to the uttermost limits permitted by the United States
Constitution.” Charles Gendler & Co., Inc. v. Telecom Equip. Corp., 102 N.J. 460, 469 (1986)
(quoting Avdel Corp, v. Mecure, 58 N.J. 264, 268 (1971)). Therefore, “we ask whether, under the
Due Process Clause, the defendant has certain minimum contacts with [New Jersey] such that the
maintenance of the suit does not offend traditional notions of fair play and substantial justice.”
O'Connor v, Sandy Lane Hotel Co., Ltd., 496 F.3d 312, 316 (3d Cir. 2007) (internal quotation and
alteration omitted).

The Court can assert either general or specific jurisdiction over a defendant. Bristol-Myers
Squibb Co. v, Super. Ct. Cal., 137 S. Ct. 1773, 1780 (2017). Plaintiff claims only specific
jurisdiction over the defendants, and as McLeod Health is a South Carolina corporation with a
principal place of business in that state, the record before the Court does not establish any basis
for the exercise of general jurisdiction. See Daimler AG v. Bauman, 571 U.S. 117, 137 (2014)
(“With respect to a corporation, the place of incorporation and principal place of business are
paradigm bases for general jurisdiction.” (internal quotation and alterations omitted)). The Court
may assert specific personal jurisdiction over a defendant when the lawsuit ““aris[es}] out of or

relate[s] to the defendant’s contacts with the forum.’” /d. at 127 (quoting Helicopteros Nacionales
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de Colombia, S.A. v. Hall, 466 U.S. 408, 414 n.8 (1984)). The Third Circuit has laid out a three-
part test to determine whether specific jurisdiction exists: (1) “the defendant must have
purposefully directed [its] activities at the forum”; (2) “the litigation must arise out of or relate to
at least one of those activities”; and (3) if the first two requirements are met, the exercise of
jurisdiction must “otherwise comport[] with fair play and substantial justice.” O'Connor, 496 F.3d
at 317 (internal quotations omitted). “A single contact that creates a substantial connection with
the forum can be sufficient to support the exercise of personal jurisdiction over a defendant.”
Miller Yacht Sales, 384 F.3d at 96 (citing Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475 n.18
(1985)).

Here, defendants intentionally mailed three collection letters to plaintiff at his New Jersey
address seeking payment of a medical bill, and in so doing, purposely directed collection efforts
at the forum state. See O'Connor, 496 F.3d at 318 (defendant’s mailing of seasonal newsletters
and brochure to address in Pennsylvania was evidence that it “deliberately reached into
Pennsylvania to target two of its citizens”); see also Dittig v. Elevate Recoveries, LLC, Civ. A. No.
16-1155, 2016 WL 4447818, at *2 n.1 (W.D. Pa. Aug. 24, 2016) (finding personal jurisdiction
over out-of-state debt collector “based on [defendant’s] collection activity directed towards
Plaintiff in this forum”). And there can be no doubt that plaintiff's claim that the language of the
collection letters was false or misleading under the FDCPA directly arises from the defendants’
act of mailing those letters to New Jersey. See Eades v. Kennedy, PC Law Offices, 799 F.3d 161,
168 (2d Cir. 2015) (“Plaintiffs’ FDCPA claims arise directly from [the defendant debt collector’s]
business communications into New York.”); Gentry v. Leading Edge Recovery Solutions, LLC,
Civ. A. No. 13-3398, 2014 WL 131811, at *4 (D.N.J. Jan. 10, 2014) (“Defendant purposely

established the requisite minimum contacts with the State of New York by sending the collection
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letter to Plaintiff's debt settlement company in New York. In doing so, the Defendant purposely
availed itself of the privilege of conducting activities within the State, thereby invoking the benefits
and protections of its laws. Moreover, the Plaintiff's FDCPA claims directly relate to and
exclusively arise out of Defendant’s transmission of the collection letter to her debt settlement
company in New York.”).

Defendants dispute any deliberate targeting of New Jersey, arguing that they directed their
collection activities at the plaintiff, and not at any particular forum state. In defendants’ view,
plaintiff himself drew them into the forum by obtaining medical services from McLeod Health in
South Carolina and then returning to his home in New Jersey without rendering full payment.
Defendants correctly cite Covenant Bank for Savings v. Cohen for the proposition that a
defendant’s contacts with the forum that respond to those initiated by the plaintiff may not confer
a sufficient basis for specific jurisdiction. 806 F. Supp. 52, 55 (D.N.J. 1992). However, their
attempt to shoehorn the facts of this case into the rubric of Covenant Bank is misplaced. In
Covenant Bank, a New Jersey plaintiff reached out from the forum state by telephone to a
Pennsylvania defendant and requested certain information; the information provided in response
to plaintiff's solicitation was allegedly false. /d. at 54-55. The Covenant Bank court declined to
exercise specific jurisdiction because “[t]he underlying transaction which gives rise to plaintiff's
claims against these defendants consists of a single inquiry, initiated by [plaintiff], directed to [the
individual defendant] in Philadelphia” but “a resident plaintiffs unilateral acts, directed to a
nonresident defendant, do not create sufficient minimum contacts between the nonresident
defendant and the forum.” Jd. at 55.

Here, there is nothing in the record to suggest that plaintiff requested a statement of his

account or otherwise solicited information regarding his medical bill such that he could be said to
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have prompted defendants to send a responsive collection letter to New Jersey.! Every FDCPA
plaintiff necessarily solicits credit from a creditor prior to incurring a debt; their claims, however,
arise not from the underlying debt, but from the defendant’s alleged conduct when initiating debt
collection activities. It follows that the Court’s specific jurisdiction inquiry is focused on the debt
collector’s purposeful collection actions in the forum and whether they relate to plaintiff's statutory
claim ~ the preceding “unilateral act” of plaintiff incurring a debt plays no role in the specific
jurisdiction analysis.

Nor is the Court persuaded by defendants’ attempt to draw a jurisdictional distinction
between third-party debt collectors hired to perform collection services on behalf of creditors and
companies like McLeod Health who utilize their own collection departments. All debt collection
activity is technically “responsive” in the sense that the plaintiff must incur a debt before any
collection efforts can occur. But the decision to contact a plaintiff about a debt is proactive, and
by directing collection calls or mail to a plaintiff in his or her home state, both third-party and first-
party debt collectors purposely avail themselves of the privilege of conducting collection activities
within that forum.

Finally, defendants have made no argument that subjecting them to personal jurisdiction in
New Jersey would in any way offend the notions of fair play and substantial justice. “The existence
of minimum contacts makes jurisdiction presumptively constitutional, and the defendant ‘must
present a compelling case that the presence of some other considerations would render jurisdiction
unreasonable.’” O’Connor, 496 F.3d at 324 (quoting Burger King, 471 U.S. at 477). Defendants

have not presented any reason why litigating in this Court would impose a burden on them, and

 

' Rodi v. Southern New England School of Law, 255 F, Supp. 2d 346, 351 (D.N.J. 2003), and
other cases cited by defendants in which the plaintiff's initial inquiry prompted defendant to send
allegedly false information into the forum state, are similarly inapposite.

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the Court is cognizant of “the plaintiff's interest in obtaining convenient and effective relief.”
Burger King, 471 U.S, at 477 (quotation omitted). The Court concludes that this is not the rare
case where an otherwise constitutional exercise of personal jurisdiction would be unreasonable or
unfair. Indeed, this Court’s exercise of specific jurisdiction over the out-of-state debt collector
aligns with the decisions of a number of other courts in FDCPA actions. See, e.g., Proescher v.
Sec. Collection Agency, No. 17-cv-1052-J-32PDB, 2018 WL 3432737, at *6 (M.D. Fla. June 8,
2018) (finding specific jurisdiction over North Carolina debt collector in FDCPA action based on
one collection letter mailed to plaintiff in Florida); Pronesti v. Nat'l Credit Adjusters, Civ. A. No.
15-6319, 2016 WL 1598858, at *2 (D.N.J. Apr. 20, 2016) (finding specific jurisdiction over
Kansas debt collector in FDCPA action where defendant directed “repeated” communications to
plaintiff in New Jersey and “these intentional communications form the fabric of her underlying
suit”); Silva v. Jason Head, PLC, Civ. A. No. 09-5768, 2010 WL 4593704, at *3 (N.D. Cal. Nov.
4, 2010) (finding specific jurisdiction over FDCPA defendant based on single debt collection
voicemail in California); Maloon v, Schwartz, Zweban & Slingbaum, L.L.P., 399 F. Supp. 2d 1108,
1112-13 (D. Haw. 2005) (finding specific jurisdiction over Florida debt collector in FDCPA action
based on single collection letter mailed to plaintiff in Hawaii); Sluys v. Hand, 831 F. Supp. 321,
324 (S.D.N.Y. 1993) (“Where an alleged debtor is located in a jurisdiction and receives documents
from a person purporting to be a debt collector located elsewhere, and the transmittal of those
documents is claimed to have violated the [FDCPA], suits may be brought where the debtor . . .
receive[s} the communications. Otherwise, one could invoke the protection of distance and send

violative letters with relative impunity, at least so far as less well-funded parties are concerned.”).
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III, CONCLUSION
For the foregoing reasons, the Court recommends that defendants’ motion to dismiss for

lack of personal jurisdiction be DENIED, The parties are hereby advised that, pursuant to Rule
72(b)(2) of the Federal Rules of Civil Procedure, they have 14 days after being served with a copy
of this Report and Recommendation to serve and file specific written objections to the Hon. Susan
D. Wigenton, U.S.D.J.
Dated: May 6, 2019

Ady 0. Wetter

on. Leda Dunn Wettre

United States Magistrate Judge

Original: Clerk of Court

cc: Hon. Susan D. Wigenton, U.S.D.J.
All parties
